                                Case 21-20206-PDR                     Doc 32          Filed 01/07/22              Page 1 of 3
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 21-20206-PDR
Annetta McCalla                                                                                                        Chapter 13
Curtis McNeal
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: romeroc                                                               Page 1 of 2
Date Rcvd: Jan 05, 2022                                               Form ID: CGFCRD3Z                                                          Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 07, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + Annetta McCalla, Curtis McNeal, 1251 NW 51 Ave., Lauderhill, FL 33313-6542

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: swulfekuhle@broward.org
                                                                                        Jan 05 2022 22:07:00      Broward County Tax Collector, 115 S Andrews
                                                                                                                  Ave, Ft Lauderdale, FL 33301-1818
smg                       Email/Text: OGCBankruptcy@floridarevenue.com
                                                                                        Jan 05 2022 22:07:00      Florida Department of Revenue, POB 6668,
                                                                                                                  Bankruptcy Division, Tallahassee, FL 32314-6668
cr                     + Email/Text: RASEBN@raslg.com
                                                                                        Jan 05 2022 22:08:00      NationStar Mortgage LLC, Robertson, Anschutz &
                                                                                                                  Schneid, P.L., 6409 Congress Avenue, Suite 100,
                                                                                                                  Boca Raton, FL 33487-2853

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 07, 2022                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 5, 2022 at the address(es) listed
below:
Name                               Email Address
Christopher P Salamone
                           Case 21-20206-PDR                Doc 32         Filed 01/07/22            Page 2 of 3
District/off: 113C-0                                        User: romeroc                                            Page 2 of 2
Date Rcvd: Jan 05, 2022                                     Form ID: CGFCRD3Z                                       Total Noticed: 4
                            on behalf of Creditor NationStar Mortgage LLC csalamone@raslg.com csalamone@raslg.com

Keith S Labell
                            on behalf of Creditor NationStar Mortgage LLC klabell@raslg.com klabell@raslg.com

Office of the US Trustee
                            USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
                            ecf@ch13weiner.com ecf2@ch13weiner.com


TOTAL: 4
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Form CGFCRD3Z (2/16/2021)

                               United States Bankruptcy Court
                                       Southern District of Florida
                                        www.flsb.uscourts.gov
                                                                                     Case Number: 21−20206−PDR
                                                                                     Chapter: 13

In re:
 Annetta McCalla                                         Curtis McNeal
 1251 NW 51 Ave.                                         1251 NW 51 Ave.
 Lauderhill, FL 33313                                    Lauderhill, FL 33313
 SSN: xxx−xx−1546                                        SSN: xxx−xx−2479


                                          NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Peter D. Russin to consider the
following:

Pro−Se Motion to Reconsider Filed by Debtor Annetta McCalla , Joint Debtor Curtis McNeal
(Graster−Thomas, Tanesha) (29)

1.   This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted
     time for this matter is ten minutes. The hearing will be held:

     Date:          February 7, 2022
     Time:          01:00 PM
     Location:      Video Conference by Zoom for Government

2.   The hearing scheduled by this notice will take place only by video conference. DO NOT GO TO THE
     COURTHOUSE. Attorneys must advise their clients not to appear at the courthouse. Although
     conducted by video conference, the hearing is a court proceeding. The formalities of the courtroom
     must be observed. All participants must dress appropriately, exercise civility, and otherwise conduct
     themselves in a manner consistent with the dignity of the Court.

3.   To participate in the hearing, you must register in advance no later than 3:00 p.m., one business day
     before the date of the hearing. To register, click on or enter the following registration link in a browser:

     https://www.zoomgov.com/meeting/register/vJItcOqurD4qHUbwAimENeAkZ7QUKGhcZ7k

4.   The movant, or movant's counsel if represented by an attorney, must:

              (a) serve a copy of this notice of hearing and, unless previously served, the above−described
                  document(s) on all required parties within the time frame required by the Federal Rules of
                  Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

              (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

     Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
     heard thereon.

5.   PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
     recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
     official record of the hearing.

Dated: 1/5/22                                            CLERK OF COURT
                                                         By: Christina Romero
                                                         Courtroom Deputy
